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                        UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF SOUTH CAROLINA


In Re:                                      )              Case No. 21-02909-HB
The Muffin Mam, Inc.,                       )              Chapter 7
                             Debtor.        )

            ORDER AUTHORIZING TRUSTEE TO EMPLOY ACCOUNTANT

        Upon the annexed Application of John K. Fort, Chapter 7 Trustee herein, for the
authority to employ Edward Bowers C.P.A. and Middleswarth, Bowers & Co. L.L.P., as
Accountant, it is
        ORDERED, ADJUDGED, AND DECREED that the Trustee be, and he hereby is,
authorized to employ said Accountant for the purposes described in the annexed Application.
        The Accountant's compensation shall be set forth by the Court according to 11 U.S.C.
Section 330(a) and, therefore, may be different from the terms of compensation discussed by the
Trustee and the Accountant or in the Application by Trustee to Employ Accountant.
